     Case 2:15-cv-09692-PSG-E Document 26 Filed 05/04/16 Page 1 of 4 Page ID #:75



1    ASHLEY VINSON CRAWFORD (SBN 257246)
2    avcrawford@akingump.com
     REGINALD D. STEER (SBN 56324)
3    rsteer@akingump.com
4    DANIELLE C. GINTY (SBN 216809)
     dginty@akingump.com
5    AKIN GUMP STRAUSS HAUER & FELD LLP
6    580 California Street, Suite 1500
     San Francisco, CA 94014
7    Telephone: 415.765.9500
8    Facsimile: 415.765.9501
9    Attorneys for Defendants D and D Marketing,
     Inc., d/b/a T3Leads, Grigor Demirchyan, and
10
     Marina Demirchyan
11
12
13                             UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                     WESTERN DIVISION
16
17   Consumer Financial Protection              Case No. 2:15-cv-09692-PSG(Ex)
     Bureau,
18                                              STIPULATION TO EXTEND TIME
                         Plaintiffs,            TO RESPOND TO INITIAL
19
                                                COMPLAINT BY NOT MORE THAN
20         v.                                   30 DAYS (L.R. 8-3)
21   D and D Marketing, Inc., d/b/a             Complaint Served: March 10, 2016
     T3Leads, Grigor Demirchyan, and            Current Response Date: May 9, 2016
22
     Marina Demirchyan,                         New Response Date: June 8, 2016
23
                         Defendants.
24
25
26
27
28

     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
     THAN 30 DAYS (L.R. 8-3)                                        Case No. 2:15-cv-09692-PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 26 Filed 05/04/16 Page 2 of 4 Page ID #:76



1            Pursuant to Local Rule 8-3, this Stipulation is entered into between Plaintiff the
2    Consumer Financial Protection Bureau (“Plaintiff”) and Defendants D and D Marketing,
3    Inc., d/b/a T3Leads, Grigor Demirchyan, and Marina Demirchyan (collectively
4    “Defendants”) with reference to the following facts:
5            A.     Plaintiff filed the Complaint in the above-captioned action (“Complaint”)
6    on December 17, 2015;
7            B.     On March 10, 2016, Plaintiff served a notice of lawsuit and request for
8    waiver of service of summons for each of the Defendants on prior counsel for the
9    Defendants;
10           C.     On March 15, 2016, Defendants returned executed waivers of service of
11   summons to Plaintiff, making their response to the Complaint due on or before May 9,
12   2016;
13           D.     The Defendants have requested and Plaintiff is agreeable to an extension of
14   the Defendants’ time to answer, move or otherwise respond to the Complaint until June
15   8, 2016; and
16           E.     This extension will not alter the date of any event or deadline already fixed
17   by Court order, and is less than 30 days from the original deadline to respond to the
18   Complaint.
19           NOW, THEREFORE, IT IS HEREBY STIPULATED by and between Plaintiff
20   and the Defendants, through their respective counsel, that the Defendants shall have up
21   to and including June 8, 2016 to answer, move or otherwise respond to the Complaint.
22
     Dated: May 4, 2016                       AKIN GUMP STRAUSS HAUER & FELD LLP
23
24
                                              By /s/ Ashley Vinson Crawford
25                                                       Ashley Vinson Crawford
                                              Attorneys for Defendants D&D Marketing, Inc.,
26                                            d/b/a T3 Leads, Grigor Demirchyan, and Marina
27                                                             Demirchyan

28

     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
     THAN 30 DAYS (L.R. 8-3)                                         Case No. 2:15-cv-09692-PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 26 Filed 05/04/16 Page 3 of 4 Page ID #:77



1    Dated: May 4, 2016                      CONSUMER FINANCIAL PROTECTION
                                             BUREAU
2
3
                                             By               /s/ Kara Miller
4                                                               Kara Miller
                                             Attorney for Plaintiff Consumer Financial
5                                            Protection Bureau
6
7
8              ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-4.3.1
9          I, Ashley Vinson Crawford, am the ECF User whose identification and password
10   are being used to file this document. In compliance with Civil Local Rule 5-4.3.1, I
11   hereby attest that all signatories have concurred in this filing.
12
13   Dated: May 4, 2016                      AKIN GUMP STRAUSS HAUER & FELD LLP
14
15                                           By /s/ Ashley Vinson Crawford
                                                        Ashley Vinson Crawford
16                                           Attorneys for Defendants D&D Marketing, Inc.,
                                             d/b/a T3 Leads, Grigor Demirchyan, and Marina
17                                                            Demirchyan
18
19
20
21
22
23
24
25
26
27
28

     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
     THAN 30 DAYS (L.R. 8-3)                                         Case No. 2:15-cv-09692-PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 26 Filed 05/04/16 Page 4 of 4 Page ID #:78



1                                      PROOF OF SERVICE
2          STATE OF CALIFORNIA, COUNTY OF CALIFORNIA
3
           I am employed in the County of San Francisco, State of California. I am over the
4
     age of 18 and not a party to the within action; my business address is: 580 California
5
     Street, Suite 1500, San Francisco, CA 94104. On May 2, 2016, I served the foregoing
6
     document(s) described as: STIPULATION TO EXTEND TIME TO RESPOND TO
7
     INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3) on the
8
     interested party(ies) below, using the following means:
9
10                          All parties identified for Notice of Electronic
                           Filing generated by the Court’s CM/ECF system
11                           under the reference case caption and number
12         I declare that I am employed in the office of a member of the bar of this court at
13   whose direction the service was made.
14         Executed on May 4, 2016 at San Francisco, California.
15
16
                                                 Suzanne G. Martinson
17
18
19
20
21
22
23
24
25
26
27
28

     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
     THAN 30 DAYS (L.R. 8-3)                                         Case No. 2:15-cv-09692-PSG(Ex)
